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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 1:06 CR 125-24
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
JUAN LOZA-ARANDA,                             )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Juan Loza-

Aranda, which was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a three-count superseding indictment against

Defendant Juan Loza-Aranda, for Conspiracy to Smuggle Aliens into and within the United

States in violation of Title 8, United States Code, Section 1324(a)(1)(A)(v)(1); Conspiracy to

Commit Mail Fraud, Wire Fraud, Document Fraud and Structuring Financial Transactions in

violation of Title 18, United States Code, Section 371; and Aiding and Abetting Bringing Aliens

into the United States, in violation of Title 8, United States Code, Section 1324(a)(2) and Title

18, United States Code, Section 2. On April 21, 2006, a hearing was held in which Defendant
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Loza-Aranda entered a plea of not guilty before Magistrate Judge William H. Baughman to

counts 2, 4 and 11, of the original indictment. On January 1, 2007, Magistrate Judge Nancy A.

Vecchiarelli received Defendant Loza-Aranda’s plea of guilty to counts 2, 4 and 11 of the

superseding indictment and issued a Report and Recommendation (“R&R”) concerning whether

the plea should be accepted and a finding of guilty entered. Magistrate Judge Vecchiarelli filed

her R&R on January 4, 2007.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Loza-Aranda is found to be competent to enter a plea and to understand his constitutional rights.

He is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Loza -Aranda is adjudged guilty of Counts 2, 4 and 11 of the

superseding indictment, in violation of Title 8 United States Code, Section 1324(a)(1)(A)(v)(I);

Title 18 United States Code, Section 371; and Title 8 United States Code, Section

1324(a)(2)(B)(ii) and Title 18 United States Code, Section 2.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
